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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
 NANCY GIMENA HUISHA-HUISHA, et al.,         )
                                             )
 Plaintiffs,                                 )
                                             )
 v.                                          )                    No. 1:21-cv-00100-EGS
                                             )
 ALEJANDRO MAYORKAS, Secretary of Homeland )
 Security, in his official capacity, et al., )
                                             )
 Defendants.                                 )
                                             )

 PLAINTIFFS’ SECOND MOTION FOR CLASSWIDE PRELIMINARY INJUNCTION

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiffs

hereby move the Court to issue a classwide preliminary injunction enjoining the application of

the Title 42 policy—consisting of the regulation at 42 C.F.R. § 71.40 and all orders and decision

memos issued by the Centers for Disease Control and Prevention or the U.S. Department of

Health and Human Services suspending the right to introduce certain persons into the United

States—to all Class Members. See Dkt. 122 (order granting Plaintiffs’ Motion for Class

Certification).

       In support of this Motion, Plaintiffs rely upon the attached memorandum of points and

authorities, the accompanying declarations, and the filings in this case. A proposed order is

attached.

       If helpful to the Court, Plaintiffs are available for oral argument on an expedited basis

once briefing is complete. As this Court is aware and as described in the accompanying

memorandum, this case involves noncitizen families who are subject to swift expulsion pursuant

to a novel invocation of the public health provisions of Title 42 of the U.S. Code. Despite

determining that their Title 42 policy is wholly unnecessary as a public health measure,

Defendants continue to expel thousands of families into danger. Plaintiffs request that this
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Motion be granted to avert further irreparable harm.

Dated: August 10, 2022                          Respectfully submitted,

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